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                                   Case No.: 1:19−cv−01796−PEC




AMAZON WEB SERVICES, INC. 1

    v.                                              NOTICE OF DESIGNATION

UNITED STATES OF AMERICA

     Pursuant to Appendix E of the Rules of the United States Court of Federal Claims, this case has
been designated as an electronic case in the court's case management/electronic case filing (CM/ECF)
system. To file documents and to receive service in CM/ECF, attorneys of record must have a
CM/ECF account. A CM/ECF account login and password will be issued only to members of the
United States Court of Federal Claims bar. Information about CM/ECF, including the online
registration form and CM/ECF filing tips, is available on the court's website at
http://www.uscfc.uscourts.gov/electronic−filing.

    The following guidelines apply to all electronic cases in the CM/ECF system:

    All documents in this case are to be filed electronically, except by leave of the Court in
exceptional circumstances. All electronically filed documents are to be in Portable Document Format
(PDF). Although electronic filing via the Internet is preferred, the Clerk's office will make available a
public terminal from which documents may be filed electronically during normal business hours only
(8:30 a.m. to 4:30 p.m.).

    Service is complete upon electronic submission of an order or document and will be effected by
electronic notice only to those counsel with a CM/ECF account. To receive service of electronically
filed documents, counsel must immediately obtain a CM/ECF account if they do not have one already.
The Clerk's office will effect service of electronically filed documents in paper form for thirty (30)
days from the date of this notice if counsel has not yet obtained a CM/ECF account. All orders and
documents not served electronically after that date will be the responsibility of counsel to obtain
through the use of a PACER account. Counsel are responsible for monitoring their e−mail accounts
and upon receipt of a notice of electronic filing, for retrieving the order or document electronically.
Certificates of service for documents filed electronically are not necessary unless the document is also
served in paper form.

   Counsel are on notice that no allowance can be made for the late filing of a document for
which the time limit is jurisdictional.




1If the complaint in this action, as originally received in the Clerk's Office, named as a plaintiff a
minor, an incompetent person, or a deceased person, the case caption has been modified to identify as
plaintiff(s) the representative(s) filing on behalf of the minor, incompetent person or deceased person.
